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      4622 PLUMOSA DR
      YORBA LINDA, CA 92886


                                                                                                         Joseph P Diaz JR
                                                                                                              Valued customer since 2019
                                                                                                         Policy Number:
                                                                                                               Underwritten by:
      JOSEPH P DIAZ JR
                                                                                                               Progressive West Ins Co
                                                                                                               Date of Mailing: August 31, 2020
                                                                                                               Policy Period: Apr 24, 2020 - Oct 24, 2020
                                                                                                               Page 1 of 2
                                                                                                         MINNICK INS SVCS
                                                                                                               1-714-777-4107
                                                                                                         Online Service
                                                                                                               DriveInsurance.com
                                                                                                         Customer Service
                                                                                                               1-800-300-3693



                       Cancellation Notice
                       Unfortunately, we didn’t receive your payment and, as a result, your policy will be canceled at 12:01 a.m. on September
                       11, 2020.
                       Please know that this means you will no longer have insurance coverage.
                       We value you as a customer and want to continue being your insurance provider. To avoid cancellation, please send us
                       your payment by check or money order so that it is received or postmarked by 12:01 a.m. on September 11, 2020. This
                       way, there will be no lapse in your coverage.
                       If you’ve already sent your payment, thank you. Your next regular payment will be due on September 24, 2020.
                       You can also pay online or over the phone using a credit card or authorizing a withdrawal from your bank account. We’ll
                       credit your payment right away so your insurance coverage will continue.
                       We sincerely appreciate your attention to this matter and thank you for your business.
                       …………………………………………………………………………………...
                       Remaining balance               $1,210.26
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                       Payments remaining
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                       Minimum   amount   due
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                       Due date               September 11, 2020


                       Please see the reverse side.
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                       Payment Coupon                                                           Joseph P Diaz JR

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                                                                                                For immediate payment, please go to
                       Minimum amount due         $609.15                                       DriveInsurance.com or call 1-800-300-3693.
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                       Due date            September 11, 2020
                       …………………………………………………………………………………...                                       seven days for your payment to reach us.
                       Amount enclosed         $
                       …………………………………………………………………………………...                                       Write your policy number on the check and
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                       To maintain continuous coverage, your payment must be received or
                       postmarked by 12:01 a.m. on September 11, 2020.
        ADFDDDTADTFADTFFTDDFATDTTADDTFAADFDTADAADFDAFTFFTATFFTFDDFFDTTTFT
                       DRIVE INSURANCE
                       PO BOX 894107
                       LOS ANGELES CA 90189-4107                                                Do not write below this section of coupon.
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                                                                                                                    Joseph P Diaz JR
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Billing detail for August 9, 2020 - August 31, 2020
            Minimum amount due                                        $609.15
            Payments received after August 31, 2020 will appear on your next bill.
            You may call Customer Service or check DriveInsurance.com to make sure we received your payment.
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    Joseph Diaz Jr. lost his title and his car. Now he’s fighting
    to get it all back




    By Mike Coppinger Mar 9, 2021                                                                                                        13




    INDIO, Calif. — Joseph Diaz Jr., stepped outside his Southern California home one September day
    and noticed something was missing: his Lexus RC350.

    Naturally, he called the police and filed a stolen vehicle report. Turns out his longtime managers, Ralph
    and Moses Heredia, repossessed the coupe.

    The brothers held the title on the car, a vehicle they purchased for the fighter in November 2019 with
    an agreement that Diaz would pay it off. After he defeated Tevin Farmer in January 2020 to win his
    first world championship, Diaz says he paid $25,000 toward the vehicle with another $4,000 invested
    toward cosmetic upgrades. He says he planned to pay off the rest after his most recent fight against
    Shavkatdzhon Rakhimov last month.

    At a pivotal moment in his life, Diaz was sans transportation for nearly two weeks (and also had to

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    Diaz viewed the vehicle incident as retribution by his managers for his decision in August to bring on
    new advisors, which he says set off a chain of events that threw his life — and boxing career — into
    disarray.

    Since signing with MTK Global in August, the Heredia brothers sued his new management company
    for racketeering, Diaz lost the junior lightweight belt he worked his entire life for after weighing in 3.5
    pounds over the limit, then was held to a majority draw against Rakhimov (a fight Diaz was favored to
    win).

    All of the outside distractions, he says, played a part in how he fared inside the ropes.

    “I was dealing with a lot of stuff with my lawyers and my ex-managers,” Diaz tells The Athletic, “and
    it’s about staying focused and determined and staying hungry to the point where I’m not gaining that
    much weight.”




    Diaz added new representation in August, he says, because he wasn’t getting all he was initially
    promised by his management company. He wanted better fights, more promotion, more sponsorship
    deals. None were coming his way.

    When he signed with MTK, becoming the first American champion in that stable, he was sure the
    new relationship would take his career to the next level. After all, MTK worked with some of the
    biggest fighters in the world including Tyson Fury, Josh Taylor and Billy Joe Saunders.

    “This is going to impact my career in a big way and make me the star that I feel I am. Not just in the
    U.S., but globally,” he told The Athletic at the time. “I’m really going to take advantage of this
    opportunity and become a unified champion and make sure I deliver very exciting fights for MTK, the
    fans and for everybody.”




     Joseph Diaz Jr., right, ended his bout with Shavkatdzhon Rakhimov in February in a draw. (Tom Hogan / Golden Boy)




    The Heredias’ attorney, Eric Montalvo of Federal Practice Group, didn’t return a voice message seeking
    comment.


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    “They took it as disrespect,” Diaz, a 2012 Olympian, told The Athletic. “I feel like MTK is going to
    benefit me by promoting my name more and getting me the biggest fights. It would have benefited
    everybody … myself … Ralph and Moses … if they would have kept it cordial and been understanding
    of everything I’m trying to do in my career and in my life.

    “I was always in the back. I wasn’t being promoted and getting the marketing and sponsorship deals I
    feel like I should have at that time. I told them many times I wanted to bring someone in. They never
    listened to me. They always wanted to make sure … they have leverage over me.”

    The dispute between the parties then escalated to the courts.

    Diaz claims the Heredias used his connection to Golden Boy for tickets to events including Canelo
    Alvarez-Gennadiy Golovkin in 2017 and 2018; took 20 percent of his purse from fights rather than the
    contracted 18 percent commission (under the guise of legal fees) and sent a legal letter promising to
    pursue damages in federal court.

    “The Heredias did not just fail to protect my interests. They also actively stole from me,” Diaz said in a
    sworn declaration filed with the California State Athletic Commission.

    Now, Diaz awaits an arbitration hearing scheduled for later this month where the California State
    Athletic Commission will rule on the validity of his contract with the Heredias.

    There’s also two pending lawsuits: one filed by Diaz against Ralph Heredia on Oct. 6 in Superior
    Court in California alleging that his half-brother, Moses Heredia, was the manager “on paper” while
    Ralph served as the de facto manager. The reason? Moses was licensed in California while Ralph
    wasn’t, “likely due to the fact that he has been hiding his true identity,” per a copy of the complaint
    obtained by The Athletic. Managers in boxing must be licensed by the state athletic commission.

    Then on Dec. 18, Heredia Boxing Management and Moses Heredia responded with a lawsuit filed in
    U.S. District Court in California. Diaz wasn’t named, but the suit alleged four counts of racketeering
    against MTK, its co-founder, Daniel Kinahan; and its chief strategy officer, Paul Gibson.

    Also named in the lawsuit: Golden Boy and VGC LLP (the law firm representing Diaz) with four
    counts of tortious interference against both parties (and MTK) along with one count of breach of
    promoter-manager contract vs. GBP.




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    Diaz is one of the brightest young fighters in boxing today. The 28-year-old claimed the 130-pound
    title with an impressive performance against Tevin Farmer in January 2020, winning via unanimous
    decision.

    But after competing three times in each of 2018 and 2019, Diaz fought only once in the past year due
    to the pandemic. He ballooned in weight and was forced to spend training camp for his fight with
    Rakhimov shedding pounds quickly. The time grew even shorter after the fight was moved one week
    earlier from its initial date of Feb. 20.

    When he weighed 3.5 pounds over the limit, the boxing world was shocked.

    “The reason I lost (the title) is because of my mistake; I didn’t lose it any other way. … It was my fault,
    man. I’m not blaming that there was no sauna or anything. It was a bad situation because of COVID
    but that doesn’t make it any (excuse) for me that I didn’t make weight.”




     Joseph Diaz Jr. missed weight for his bout with Shavkatdzhon Rakhimov in February by 3.5 pounds. (Tom Hogan / Golden Boy / Getty Images)




    JoJo woke up early Friday before the fight in an attempt to lose the final few pounds. He shadowboxed
    for an hour but didn’t sweat at all. He was surprised. Usually, the beads start falling about 20 minutes
    in.

    He ran for 30 or 40 minutes; no sweat whatsoever.

    “I completely held onto the water weight,” he says. “I was in shape, I went the full 12 rounds and was
    pushing the Russian guy back. My body just gave out. I tried to make the weight but my body was like
    enough is enough.

    “At the end of the day, I didn’t want to not make weight and lose my belt at the scale. I did the hot
    bath. … It’s not like I didn’t try. I really did try to keep that title around my waist. I trained my ass off
    for this fight.”

    Diaz says part of the reason for his issues both on the scales in the ring last month was distractions
    dealing with his management. And it isn’t stopping any time soon.

    His next bout, per sources, could come this summer against Roger Gutierrez, a fellow Golden Boy
    Promotions fighter. The Venezuelan is coming off a career-best victory, a decision over Rene Alvarado

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    Diaz hired an attorney, Jim Greeley, who contends that while the Heredias saw Diaz’s move to bring in
    an advisor as an act of aggression, it was never meant as such.

    “The Heredias held a position of trust as Diaz’s managers and fiduciaries,” he says. “Rather than
    working to advance Diaz’s career as is their job and legal duty, the evidence shows the Heredias have
    launched a deliberate campaign to attack and harm Diaz, work against his interests, and interfere with
    his career.

    “They have revealed they are Diaz’s enemies, not his managers, and they will pay the consequences for
    illegally abusing his trust and causing him injury.”

    Court documents show that Rafael Heredia Tarango, previously known as Rafael Bustamante, was
    convicted in 1993 of conspiracy to possess and distribute 12 kilograms of cocaine.

    “The guy (Ralph) Heredia is a convicted felon and cheated the fighter and filed legal papers about
    Kinahan being involved with the fighter, JoJo Diaz. Nonsense,” says Top Rank chairman Bob Arum,
    who promotes champions from the MTK stable such as Fury and Taylor.

    MTK is also no stranger to controversy as Kinahan has been named by the Irish high court as the
    leader of a drug cartel. He’s denied the allegations and has never been charged.




    Diaz is no longer a champion, but he still figures prominently into the stacked title picture at 130
    pounds. There’s Oscar Valdez, who just scored a hellacious knockout of Miguel Berchelt in an ESPN
    title tilt; Gervonta Davis, the biggest star in the division; Shakur Stevenson, a budding star who held a
    title at 126 pounds; and then Jamel Herring and Carl Frampton, who will vie for Herring’s title April 3
    in Dubai.

    Like Diaz, Herring and Frampton are advised by MTK, potentially setting up Diaz for the winner
    later this year. Also out there: Farmer, who Diaz soundly beat last year.

    There was a rematch clause in the contract for the Farmer fight, but efforts to finalize the bout were
    complicated by the pandemic and the deadline passed, voiding the deal.

    “I was fine doing the rematch,” Diaz says. “Ralph said ‘no,’ because the contract would be voided so we
    wouldn’t be fighting for the measly amount. So if they wanted me to fight Farmer again, I could make
    more money
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    “If the money was right, I would have taken the #:4998
                                                    rematch without a doubt, but Golden Boy and Ralph,
    they were trying to make it seem like the money wasn’t there.”




     Joseph Diaz has no shortage of top-tier opponents in the coming months. (Ed Mulholland / Matchroom Boxing USA)




    Instead, Diaz proceeded with his mandated title defense vs. Rakhimov. All the while, Farmer lobbed
    insults at Diaz and when he missed weight, Farmer celebrated on social media. After the draw result,
    Farmer took yet another victory lap.

    “For him to even be celebrating someone’s — I wouldn’t even say downfall because I still won the fight
    and I honestly thought I was robbed — for him to even praise that I’m doing bad, for him to act that
    type of way, he’s a coward,” Diaz says.

    But Diaz vows to change himself, starting with keeping his weight down in between fights. And before
    his next ring foray, he could have clarity — calm, even — in relation to the ongoing situation with the
    Heredias.

    (Top photo: Ed Mulholland / Matchroom Boxing USA)




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